 Case 2:08-cr-00137-WFN    ECF No. 1205   filed 04/27/09   PageID.3019 Page 1 of 1




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                           UNITED STATES DISTRICT COURT
 6                        EASTERN DISTRICT OF WASHINGTON
 7
     UNITED STATES OF AMERICA,              )
 8                                          )     No. CR-08-137-WFN-31
                     Plaintiff,             )
 9                                          )     ORDER FOLLOWING STATUS
     v.                                     )     CONFERENCE AND MODIFYING
10                                          )     CONDITIONS OF RELEASE
     GEORGE ALBERT FLAHERTY                 )
11                                          )
                     Defendant.             )
12                                          )

13        At the April 27, 2009, status conference, Defendant appeared

14   with counsel, Frank Cikutovich; Assistant U.S. Attorney Russell

15   Smoot represented the United States.

16        The Defendant orally moved to modify conditions of release to

17   allow contact with Tonya Collum.        The Defendant’s Motion (Ct. Rec.

18   1203) is GRANTED.    Defendant may have contact with Tonya Collum and

19   may pick up his children outside the presence of his mother.                    All

20   other conditions of release shall remain. Defendant was reminded he

21   shall have no contact with convicted felons or gang members.

22        IT IS SO ORDERED.

23        DATED April 27, 2009.

24
25                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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     ORDER FOLLOWING STATUS CONFERENCE AND MODIFYING
     CONDITIONS OF RELEASE - 1
